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    April 16,2018

    VIA OVERNIGHT MAIL

    The Honorable Douglas E. Arpert                                                                      RECEIVED
    United States District Court
    District of New Jersey
    Clarkson S. Fisher Federal Building &
                                                                                                                     APR 1 6 2018
    U.S. Courthouse                                                                                          AT 8:30                           M
                                                                                                                WILLIAM T. WALSH
    402 East State Street                                                                                            CLERK
    Trenton, NJ 08608


    Re:       Linus Holding Corp. v. Mark Line Industries, LLC, et al.
              Case No. 3:17-cv-03694-FLW/DEA

    Dear Judge Arpert:

    Pursuant to your direction, this will confirm a portion of what transpired on the status call held today.
    Specifically, the Court had conditioned the granting of Reed Smith's motion to withdraw from
    representing Defendant Mosaic Capital Group, Inc. (''Mosaic") in this case upon compliance with
    certain conditions in the Court's Order on Plaintiffs Motion to Compel. All counsel on the phone
    agreed that the conditions in the Court's Order had been satisfied and that an Order should now be
    entered confirming that and confirming that myself and Reed Smith ate no longer representing Mosaic
    in this case (with the Clerk being instructed to mark the docket to reflect that myself and Reed Smith no
    longer represent ¥osaic ).

    Respectfully,




    HFR:rp

    cc: .     Mosaic Capital Group, Inc.
              All Counsel of Record
                                                                                                       SO ORDERED:




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           ABU DHABI    + ATHENS + BEIJING + CENTURY C.ITY + CHICAGO + DUBAI + FRANKFURT + HONG KONG + HOUSTON o KAZAKHSTAN    t LONDON t LOS ANGELES t MIAMI t MUNICH
     NEW YORK ~ PARIS   + PHILADELPHIA   t PITTSBURGH t PRINCETON t RICHMOND t SAN FRANCISCO • SHANGHAI t SILICON VALLEY t SINGAPORE t TYSONS t WASHINGTON, D.C. t WILMINGTON



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